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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                    SAN JOSE DIVISION

11   UNITED STATES,                            Case No. CR 09-263 RMW
12
                         Plaintiff,            REPLY TO GOVERNMENT’S
13                                             RESPONSE TO DEFENDANT STUMPO’S
                  v.                           REQUEST FOR DETERMINATION ON
14                                             SCOPE OF RELEVANT EVIDENCE AT
                                               TRIAL AND PROPOSED JURY
15   ADRIANA STUMPO                            INSTRUCTIONS
16
                         Defendant
17                                             Date: June 7, 2010
                                               Time: 9:00 a.m.
18                                             Court: Ctrm 6, 4th Floor, Hon. R. M. Whyte
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 1          I.      THE SUBJECTIVE INTENT OF THE DEFENDANTS IS RELEVANT
                    AND ADMISSIBLE AT TRIAL
 2

 3          The government first agrees that it is required to prove that Stumpo and her co-

 4   defendants subjectively intended to place the alleged victims in reasonable fear of death or

 5   serious bodily injury, but that this subjective intent is required only as to the “threats” and

 6   “intimidation” language of 18 U.S.C. section 43, and not to the remainder of the alleged course

 7   of conduct including “acts of vandalism, property damage, criminal trespass, harassment.” But

 8   the government then states:

 9          Moreover, the government’s agreement that it must prove a “true threat” when it seeks to
            show a “threat” or “intimidation” adds little or nothing to the government’s burden of
10          proof or the evidence that is relevant at trial, because the statute requires the government
            to show that the defendants “intentionally place[d] a person in reasonable fear of the
11
            death of, or serious bodily injury to that person, a member of the immediate family … of
12          that person, or a spouse or intimate partner of that person” by a “course of conduct” that
            may involve threats or intimidation. In other words, to prove a violation of the statute the
13          government must introduce evidence of defendants’ subjective intent to place a person in
            reasonable fear of death or serious bodily injury.
14
            Govt. Response 3-4
15

16          It appears that the government is conceding that in order to prove the defendants’ guilt, it

17   must prove at trial that the defendants’ specifically intended that their alleged course of conduct

18   (that is whatever speech, expressive conduct or acts the government alleges made up the course

19   of conduct) would place a person in reasonable fear of death, or serious bodily injury to that

20   person or their immediate family.

21          As to the government’s comments regarding how that specific intent may be proven or

22   negated, defendant Stumpo agrees that the evidence offered from all parties must be admissible

23   under the Federal Rules of Evidence and questions of admissibility and how each party will

24   attempt to prove or disprove intent will obviously be decided in due course.

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 1             II.    IF THIS COURT ALLOWS TESTIMONY REGARDING WITNESS’
                      FEAR, THE COURT MUST STRICTLY CURTAIL THE EVIDENCE
 2                    THAT MAY BE ADMISSIBLE TO PROVE THE FEAR WAS
                      REASONABLE.
 3

 4             The government argues that it is required under section 43 to prove that the alleged

 5   victims actually were in fear of death or serious bodily injury, and that the fear was reasonable
 6   under an objective standard. The language of 18 U.S.C. section 43 requires the jury to determine
 7
     whether the defendants believed that a reasonable person would have been placed in fear of
 8
     death or great bodily injury as a result of their course of conduct. Should the Court determine
 9
     that the government is required to prove that a person was actually placed in fear, the question
10

11   becomes whether the witnesses may, and to what extent they may, testify about why they were

12   afraid.

13             The government argues that rather than the trial becoming a “morass of evidence about
14   what was communicated to the witness, under what circumstances it was communicated, and by
15   what entity it was communicated,” the witnesses will simply be asked to testify about whether
16   they were in fear and why.” Govt. Response at 6. The government appears to forget about that
17   very effective trial weapon wielded by defense attorneys and prosecutors alike: cross-
18   examination. The problem in this context will be the extent of the testimony. Will the witness
19   be allowed to testify about actions and statements, etc., that they had heard about or witnessed,
20   but which are not attributable to the defendants? Will the witnesses be allowed to testify about
21   the conduct of individuals connected to the animal rights movement in general?
22             For example, the government has provided discovery in this case regarding two alleged
23   arsons which occurred in Santa Cruz. It is unknown whether those arsons were connected to the
24   animal rights movement. Will the jury be allowed to hear evidence regarding those incidents
25   because, arguably, they may be relevant to the jury’s determination of whether the witness’ fear
26   was reasonable?
27             The government has provided defendants with discovery regarding threatening emails
28   that some witnesses received. There is no evidence that any of the defendants sent those emails,
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 1   nor is there any evidence that they knew of, or were in any way connected to those emails. As

 2   such, the witnesses may have been placed in fear not simply by the defendants’ alleged course of

 3   conduct but rather based upon the alleged conduct of other individuals who may or may not be

 4   connected to the broad, varied and non-homogeneous community of individuals, groups and

 5   ideologies which make up what is referred to as the animal rights movement.

 6          As such, under the government’s theory any number of alleged actions by the animal

 7   rights movement in general which were known to the witness may become relevant and

 8   admissible at trial. Defendant Stumpo therefore requests that this Court make a determination as

 9   to the scope of relevant evidence in this area.

10
            III.    STRICTISSIMI JURIS APPLIES AT TRIAL AND THE JURY MUST BE
11                  SO INSTRUCTED.

12          The government first argues that because the concept of strictissimi juris applies only to
13   First Amendment activity and because the government asserts that the defendants’ conviction
14   (apparently a foregone conclusion) will not rest on activity protected by the First Amendment,
15   resort to strictissimi juris is unnecessary. Govt. Response at 7. This statement is in fact the
16   question.
17          The government has alleged in its bill of particulars that on each of the eight dates
18   specified, one or more of the defendants engaged in speech, and other conduct, which the
19   government alleges, constituted either threats or intimidation which, according to the
20   government, lay outside First Amendment protection. Govt. Bill of Particulars at 2-3. But it will
21   be the jury who will be required to determine whether the defendants’ alleged course of conduct,
22   including speech and expressive conduct was not First Amendment protected speech or
23   expressive conduct. Specifically, the jury will be required to determine whether defendant
24   Stumpo had the intent only to exercise her First Amendment rights and not the intent to cause a
25   person to reasonably fear death or great bodily injury. The jury will be required to determine
26   whether a reasonable person would have interpreted Stumpo’s speech and/or conduct as a “true
27   threat.” United States v. Francis, 164 F.3d 120, 123 n.4 (2d Cir. 1999). And the jury will be
28   required to determine whether Ms. Stumpo may be held liable for her co-defendant’s speech, acts
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 1   or expressive conduct under the conspiracy charge in the indictment. Defendant Stumpo does

 2   not disagree that the government may seek to prove her own specific intent by circumstantial

 3   evidence, but citing exactly the same language as the government:

 4          When the alleged [conspiratorial] agreement is both bifarious and political within the
            shadow of the First Amendment, an individual’s specific intent to adhere to the illegal
 5          portions of the agreement may be shown in one of three ways: by the individual
            defendant’s prior or subsequent unambiguous statements; by the individual defendant’s
 6
            subsequent commission of the very illegal act contemplated by the agreement; or by the
 7          individual defendant’s subsequent legal act if that act is “clearly undertaken for the
            specific purpose of rendering effective the later illegal activity which is advocated.”
 8

 9   United States v. Spock, 416 F.2d 165, 173 (1st Cir. 1969) (emphasis added).

10          And as the government has previously argued: “Until the government presents its

11   evidence at trial, the court and jury will not have all the evidence necessary to determine whether

12   defendants’ otherwise protected conduct is outside the protection of the First Amendment

13   because it constitutes a ‘true threat.’” Govt. Opp. To Motion to Dismiss and Bill of Particulars at

14   9-10. That is, the government concedes that it is the jury who must decide this question. The

15   “factual issue” as to defendant Stumpo’s “intent must be judged strictissimi juris.” United States

16   v. Dellinger, 472 F.2d 340, 392 (7th Cir. 1972.) That is – it is a factual question for the jury to

17   answer. Further, as the government acknowledges, in Fullmer, the prosecution under the Animal

18   Enterprise Protection Act, the former version of 18 U.S.C. section 43, the Third Circuit applied

19   the concept of strictissmi juris. United States v. Fuller, 584 F.3d 132, 160 (3d Cir. 2009). The

20   question of whether the expressive conduct and speech here is protected under the First

21   Amendment will be a question for the jury, and thus, strictissimi juris must apply.

22          This case is precisely the genre of criminal prosecution where strictissimi juris is

23   relevant. Here, there exists the situation that the “animal rights community” may be seen to have

24   both legal and illegal ends. There exists a broad spectrum of persons who champion the cause of

25   animal rights, from organizations including the American Society for the Prevention of Cruelty

26   to Animals, to People for the Ethical Treatment of Animals, to the Animal Liberation Front. See,

27   Diana L. Beers, For the Prevention of Cruelty; the History and Legacy of Animal Rights

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 1          Activism in the United States (Swallow Press) (2006). That spectrum includes

 2   individuals who seek to achieve the goal of animal rights both by legal and illegal means.

 3          Within the constantly changing groups of persons present at many of the dates indicated

 4   in the Bill of Particulars, may be persons who seek to achieve the goal of animal rights by legal

 5   means or illegal means. “When the ultimate objective of a group, of which the defendant is a

 6   member, is legal, but the means chosen to accomplish that end involve both legal and illegal

 7   activities, a court will apply strictissimi juris to ensure that the defendant was personally

 8   involved with the illegal aspects of the group activity.” Montour, supra, 944 F.2d at 1024; United

 9   States v. Markiewicz, 978 F.2d 786, 813 (2d Cir.1992)

10          Where an alleged agreement has multiple objectives and where some of those objectives

11   involve the lawful exercise of constitutionally protected expression, an individual defendant’s

12   specific intent to commit an unlawful act cannot be inferred merely from the overt acts, legal or

13   otherwise, of her alleged coconspirators. Spock, supra, 416 F.2d at 173. Under the doctrine of

14   strictissimi juris, therefore, if the scope of Ms. Stumpo’s agreement with her alleged indicted and

15   unindicted co-conspirators included the lawful exercise of constitutionally protected expression,

16   then any overt acts taken by her alleged indicted and unindicted coconspirators towards the

17   advancement of their illegal ends cannot, on their own, be used as evidence of her specific intent

18   to further any criminal objective.

19          If defendant Stumpo was party to an agreement to effect a lawful outcome through

20   constitutionally protected expression, and personally engaged only in lawful means to bring that

21   lawful outcome about, she cannot have the specific intent requisite for conspiracy solely on the

22   basis of the unlawful activities of her co-defendants. Spock, supra, 416 F.2d at 173. When an

23   alleged agreement has multiple objectives and where some of those objectives involve the lawful

24   exercise of constitutionally protected expression, an individual defendant’s specific intent to

25   commit an unlawful act cannot be inferred merely from the overt acts, legal or otherwise, of her

26   alleged coconspirators. Spock, supra, 416 F.2d at 173.

27          As the Supreme Court pointed out in Noto v. United States, 367 U.S. 290, 299-300

28   (1961), an organization has both legal and illegal ends, “[c]riminal intent … must be judged
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 1   strictissimi juris, for otherwise there is a danger that one in sympathy with the legitimate aims of

 2   such an organization, but not specifically intending to accomplish them by resort to violence,

 3   might be punished by adherence to lawful and constitutionally protected purposes, because of

 4   other and unprotected purposes which he does not necessarily share.”

 5           The government then argues that “when the principle of strictissimi juris applies, it

 6   provides a means for a court reviewing a conviction to view the evidence against a defendant,

 7   not a principle on which the jury must be instructed at trial.” Govt. Response at 7. The

 8   government cites no authority for the proposition. If strictissimi juris applies here, then the jury

 9   must be so instructed. The government further argues that the Ninth Circuit Model Jury

10   Instructions for conspiracy fully capture the doctrine of strictissimi juris. Govt. Response at 9.

11   However, the law is clear that “[t]he metastatic rules of ordinary conspiracy are at direct
12   variance with the principle of strictissimi juris. Spock, supra, 416 F.2d at 173 (emphasis added).
13           Further, the doctrine of strictissimi juris is one which seldom comes into play in the

14   criminal context, because for the vast majority of conspiracy charges, there is no question as to

15   the illegal ends of the conspiracy. See, Scales v. United States, 367 U.S. 203, 232, (1961),

16   (“Smith Act offenses involving as they do subtler elements than are present in most other crimes,

17   call for strict standards in assessing the adequacy of the proof needed to make out a case of

18   illegal advocacy”). As such, there is seldom a factual scenario whereby codefendants are

19   indicted in a situation where the objective of their organization comprises both legal and illegal

20   means to achieve an end. The Ninth Circuit Model Jury Instructions simply do not cover such a

21   situation.

22           The doctrine of strictissmi juris applies to this case, it applies at trial and the jury must be

23   instructed so.

24   ///

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 1                                           Respectfully submitted,

 2                                           Nolan, Armstrong & Barton, LLP

 3

 4                                                            /s/
     Dated: May 28, 2010                     _________________________________
 5                                            Thomas J. Nolan
                                              Emma Bradford
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                                              Attorneys for Defendant, Adriana Stumpo
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